                                UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF ALASKA

COMMERCE AND INDUSTRY INSURANCE
COMPANY,
          Plaintiff,
                                               Case Number 3:17-cv-00065-SLG
v.

BLACK GOLD EXPRESS, INC.,
et al.,
          Defendant,                           JUDGMENT IN A CIVIL CASE


     JURY VERDICT. This action came before the court for a trial
by jury. The issues have been tried and the jury has rendered its
verdict.


 xx   DECISION BY COURT. This action came to trial or decision
before the Court.   The issues have been tried or determined and a
decision has been rendered.

            IT IS ORDERED AND ADJUDGED:

        THAT the plaintiff Commerce and Industry Insurance Company
recover the amount of $493,278.00 plus prejudgment interest, costs,
and reasonable attorneys' fees from the defendant Black Gold
Express, Inc., et al.,


APPROVED:

 s/Sharon L. Gleason
 SHARON L. GLEASON
 United States District Judge
 Date: October 5, 2017
 NOTE: Award of prejudgment interest,                 Lesley K. Allen
 costs and attorney's fees are governed               Lesley K. Allen,
 by D.Ak. LR 54.1, 54.3, and 58.1.                     Clerk of Court




[Jmt2 - Basic - rev. 1-13-16}




     Case 3:17-cv-00065-SLG Document 20 Filed 10/05/17 Page 1 of 1
